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                          ‭UNITED STATES DISTRICT COURT‬
                            ‭MIDDLE DISTRICT OF FLORIDA‬
                                  ‭TAMPA DIVISION‬

  ‭UNITED STATES OF AMERICA‬

   ‭v.‬                                          ‭CASE NO.: 8:24-cr-00068-KKM-TGW‬

  ‭TIMOTHY BURKE‬

  ‭_____________________________/‬

             ‭DEFENDANT'S REPLACEMENT MEMORANDUM OF LAW‬
                    ‭IN SUPPORT OF MOTION TO DISMISS‬
                        ‭COUNTS 8, 9, 10, 11, 12, 13, and 14‬

          ‭At‬ ‭the‬ ‭hearing‬ ‭of‬ ‭May‬ ‭6,‬ ‭2025,‬ ‭the‬ ‭government‬‭revealed‬‭its‬‭theory‬‭of‬‭this‬

  ‭prosecution–that‬‭is‬‭that‬‭the‬‭wiretap‬‭statute‬‭prohibits‬‭the‬‭interception‬‭(acquisition‬

  ‭of‬‭the‬‭contents‬‭-‬‭18‬‭USC‬‭2510(4))‬‭of‬‭any‬‭communication‬‭that‬‭contains‬‭the‬‭human‬

  ‭voice‬ ‭(as‬ ‭a‬ ‭“wire‬ ‭communication”‬ ‭-‬ ‭18‬ ‭USC‬ ‭2510(1)‬ ‭and‬ ‭(18))‬ ‭unless‬ ‭the‬

  ‭defendant‬ ‭can‬ ‭establish‬‭that‬‭“one‬‭of‬‭the‬‭parties‬‭to‬‭the‬‭communication‬‭has‬‭given‬

  ‭prior‬‭consent‬‭to‬‭such‬‭interception.”‬‭(18‬‭USC‬‭2511(2)(c)‬‭or‬‭(d)).‬ ‭To‬‭the‬‭extent‬‭that‬

  ‭the‬‭communication‬‭does‬‭not‬‭contain‬‭the‬‭human‬‭voice,‬‭the‬‭government‬‭contends‬

  ‭that‬‭the‬‭defendant‬‭may‬‭show,‬‭as‬‭an‬‭affirmative‬‭defense,‬‭that‬‭the‬‭communication‬

  ‭was‬ ‭acquired‬ ‭from‬‭an‬‭electronic‬‭communication‬‭system‬‭configured‬‭so‬‭that‬‭such‬

  ‭electronic‬ ‭communication‬ ‭is‬ ‭readily‬ ‭accessible‬ ‭to‬ ‭the‬ ‭general‬ ‭public.‬ ‭18‬ ‭USC‬

  ‭2511(2)(g)(i).‬ ‭This‬‭motion‬‭will‬‭primarily‬‭address‬‭the‬‭Court’s‬‭questions‬‭raised‬‭at‬




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  ‭the‬ ‭hearing‬ ‭largely‬ ‭focused‬ ‭on‬ ‭the‬ ‭First‬ ‭Amendment‬ ‭arguments‬ ‭of‬ ‭the‬

  ‭defendant’s Motion to Dismiss.‬

          ‭Introduction‬

          ‭If‬ ‭a‬ ‭file,‬ ‭a‬ ‭stream,‬ ‭a‬ ‭movie,‬ ‭or‬ ‭other‬ ‭communication‬ ‭contains‬ ‭the‬ ‭human‬

  ‭voice‬ ‭(and‬ ‭is‬ ‭viewed‬ ‭as‬ ‭a‬ ‭wire‬ ‭communication),‬‭the‬‭statute‬‭makes‬‭it‬‭a‬‭felony‬‭to‬

  ‭acquire‬ ‭its‬ ‭contents‬ ‭-‬ ‭even‬ ‭from‬ ‭a‬ ‭public‬ ‭or‬ ‭publicly‬ ‭accessible‬ ‭source.‬ ‭Any‬

  ‭interception‬ ‭of‬ ‭a‬ ‭“wire‬ ‭communication”‬ ‭without‬ ‭the‬ ‭consent‬ ‭of‬ ‭a‬ ‭party‬ ‭is‬

  ‭prohibited.‬ ‭The‬ ‭statute‬ ‭can‬ ‭be‬ ‭applied‬ ‭to‬ ‭prohibit‬ ‭obtaining‬ ‭even‬ ‭publicly‬

  ‭available‬ ‭information‬ ‭and‬ ‭separately,‬ ‭publishing‬ ‭that‬ ‭information,‬ ‭if‬ ‭consent‬ ‭is‬

  ‭not‬‭obtained.‬ ‭In‬‭the‬‭context‬‭of‬‭downloading‬‭Internet‬‭content‬‭containing‬‭human‬

  ‭voice content, that is what makes the statute constitutionally infirm.‬

          ‭While‬ ‭the‬ ‭statute‬ ‭permits‬ ‭access‬ ‭to‬‭such‬‭content‬‭with‬‭the‬‭prior‬‭consent‬‭of‬

  ‭one‬ ‭of‬ ‭the‬ ‭parties‬ ‭to‬ ‭the‬ ‭communication,‬ ‭the‬ ‭statute‬ ‭remains‬ ‭impermissibly‬

  ‭overbroad.‬ ‭A‬‭casual‬‭Internet‬‭web‬‭surfer‬‭cannot‬‭know‬‭whether‬‭the‬‭content‬‭they‬

  ‭view,‬‭stream,‬‭or‬‭listen‬‭to‬‭was‬‭posted‬‭or‬‭streamed‬‭with‬‭the‬‭“prior‬‭consent”‬‭of‬‭one‬

  ‭of‬ ‭the‬ ‭parties‬ ‭-‬ ‭all‬ ‭they‬ ‭would‬ ‭know‬ ‭is‬ ‭that‬ ‭the‬ ‭stream‬ ‭is‬ ‭available‬ ‭online.‬ ‭As‬

  ‭noted,‬‭infra‬‭,‬‭Congress‬‭intended‬‭to‬‭allow‬‭persons‬‭to‬‭acquire‬‭content‬‭if‬‭that‬‭content‬

  ‭is‬‭on‬‭a‬‭server‬‭that‬‭is‬‭configured‬‭to‬‭be‬‭readily‬‭accessible‬‭to‬‭the‬‭general‬‭public‬‭as‬‭to‬

  ‭(18‬ ‭USC‬ ‭2511(2)(g)(i)(electronic‬ ‭communications)‬ ‭and‬ ‭18‬ ‭USC‬ ‭2510‬ ‭(16)‬ ‭(radio‬

  ‭communications).‬ ‭This‬ ‭commonsense‬ ‭limitation‬ ‭on‬ ‭prosecution‬ ‭to‬ ‭only‬

  ‭circumstances‬ ‭where‬ ‭the‬ ‭government‬ ‭can‬ ‭show‬ ‭that‬ ‭the‬ ‭communication‬ ‭was‬


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  ‭obtained‬‭from‬‭a‬‭non-public‬‭source‬‭-‬‭would‬‭save‬‭the‬‭statute‬‭from‬‭overbreadth‬‭-‬‭if‬

  ‭it‬ ‭can‬ ‭be‬ ‭applied.‬ ‭However,‬ ‭the‬ ‭“wire‬ ‭communications”‬ ‭provision‬ ‭which‬ ‭the‬

  ‭government asserts is applicable here, has no such statutory limiting principle.‬

           ‭By‬ ‭charging‬ ‭that‬ ‭the‬‭communications‬‭are‬‭simultaneously‬‭“wire,‬‭oral‬‭and‬

  ‭electronic”‬ ‭communications,‬ ‭the‬ ‭government‬ ‭cannot‬ ‭at‬ ‭trial‬                       ‭-‬ ‭without‬

  ‭re-presentation‬ ‭to‬ ‭the‬ ‭grand‬ ‭jury‬ ‭-‬ ‭charge‬ ‭that‬ ‭these‬ ‭communications‬ ‭are‬

  ‭“electronic”‬ ‭only‬ ‭to‬ ‭avoid‬ ‭insult‬ ‭to‬ ‭the‬ ‭First‬ ‭Amendment.‬ ‭That‬ ‭change‬ ‭would‬

  ‭not‬ ‭merely‬ ‭“narrow”‬ ‭the‬ ‭criminal‬ ‭charges,‬ ‭it‬ ‭would‬ ‭fundamentally‬ ‭alter‬ ‭their‬

  ‭character.‬ ‭Indeed,‬ ‭even‬ ‭this‬ ‭may‬ ‭not‬ ‭save‬ ‭the‬ ‭Indictment‬ ‭because‬ ‭at‬ ‭least‬ ‭one‬

  ‭court‬ ‭has‬ ‭suggested‬ ‭that‬‭if‬‭the‬‭communication‬‭in‬‭any‬‭way‬‭contains‬‭the‬‭contents‬

  ‭of‬‭a‬‭human‬‭voice,‬‭it‬‭is‬‭a‬‭“wire”‬‭and‬‭is‬‭not‬‭an‬‭“electronic”‬‭communication.‬‭United‬

  ‭States‬ ‭v.‬ ‭Serna‬‭,‬ ‭No.‬ ‭5:22-CR-01194-01,‬ ‭2024‬ ‭WL‬ ‭1902759,‬ ‭at‬ ‭*8‬ ‭(S.D.‬ ‭Tex.‬ ‭Jan.‬‭31,‬

  ‭2024)(rejecting‬ ‭DOJ’s‬ ‭argument‬ ‭that‬ ‭tablet‬ ‭video‬ ‭calls‬ ‭from‬ ‭prison‬ ‭were‬ ‭not‬

  ‭subject‬ ‭to‬ ‭statutory‬ ‭suppression‬ ‭rules‬ ‭of‬ ‭18‬ ‭USC‬ ‭2515‬ ‭because‬ ‭they‬ ‭were‬

  ‭“electronic” not “wire” communications).‬

          ‭But,‬ ‭here,‬ ‭the‬ ‭grand‬ ‭jury‬ ‭has‬ ‭charged‬ ‭that‬ ‭each‬ ‭live‬ ‭stream‬ ‭allegedly‬

  ‭intercepted‬ ‭is‬ ‭simultaneously‬ ‭“oral,‬ ‭wire‬ ‭and‬ ‭electronic”‬ ‭communication.‬ ‭No‬

  ‭amendment‬‭of‬‭the‬‭indictment‬‭by‬‭the‬‭government‬‭or‬‭the‬‭Court‬‭to‬‭elect‬‭a‬‭singular‬

  ‭form‬ ‭of‬ ‭communication‬ ‭now‬ ‭is‬ ‭permitted.‬ ‭See‬ ‭Russell‬ ‭v.‬ ‭United‬ ‭States,‬ ‭369‬ ‭U.S.‬

  ‭749,‬‭770,‬‭82‬‭S.‬‭Ct.‬‭1038,‬‭1050,‬‭8‬‭L.‬‭Ed.‬‭2d‬‭240‬‭(1962)(noting‬‭the‬‭“settled‬‭rule‬‭in‬‭the‬

  ‭federal‬‭courts‬‭that‬‭an‬‭indictment‬‭may‬‭not‬‭be‬‭amended‬‭except‬‭by‬‭resubmission‬‭to‬


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  ‭the‬ ‭grand‬‭jury,‬‭unless‬‭the‬‭change‬‭is‬‭merely‬‭a‬‭matter‬‭of‬‭form.”);‬‭Compare.‬‭,‬‭United‬

  ‭States‬ ‭v.‬ ‭Miller,‬ ‭471‬ ‭U.S.‬ ‭130,‬ ‭145,‬ ‭105‬ ‭S.‬ ‭Ct.‬ ‭1811,‬ ‭1820,‬ ‭85‬ ‭L.‬ ‭Ed.‬ ‭2d‬ ‭99‬

  ‭(1985)(restricting holding to amendments that expand the scope of charges).‬

          ‭Whether‬ ‭the‬ ‭Court‬ ‭finds‬ ‭that‬ ‭“lack‬ ‭of‬ ‭consent”‬ ‭is‬ ‭an‬ ‭element‬ ‭of‬ ‭an‬

  ‭interception‬‭of‬‭a‬‭“wire”‬‭communication,‬‭or‬‭finds‬‭that‬‭it‬‭is‬‭an‬‭affirmative‬‭defense,‬

  ‭the‬ ‭statute‬ ‭as‬ ‭applied‬ ‭to‬ ‭Internet‬ ‭communications‬ ‭restricts‬ ‭or‬ ‭restrains‬ ‭a‬ ‭wide‬

  ‭swath‬ ‭of‬ ‭First‬ ‭Amendment-protected‬ ‭activities‬ ‭-‬ ‭creating‬ ‭the‬ ‭potential‬ ‭for‬

  ‭criminal‬‭liability‬‭to‬‭anyone‬‭who‬‭merely‬‭accesses‬‭a‬‭streaming‬‭TikTok‬‭or‬‭YouTube‬

  ‭video,‬ ‭a‬ ‭live‬ ‭stream,‬ ‭or‬ ‭any‬ ‭content‬ ‭containing‬ ‭the‬ ‭human‬ ‭voice,‬ ‭without‬ ‭first‬

  ‭procuring‬‭a‬‭party’s‬‭consent.‬‭It‬‭is‬‭almost‬‭unimaginably‬‭broad‬‭in‬‭its‬‭reach,‬‭and‬‭its‬

  ‭prohibition.‬     ‭It‬ ‭would‬ ‭require‬ ‭Internet‬ ‭users‬ ‭not‬ ‭to‬ ‭determine‬ ‭whether‬ ‭a‬ ‭file,‬

  ‭folder,‬ ‭stream‬ ‭or‬ ‭communication‬ ‭is‬ ‭public‬ ‭or‬ ‭publicly‬ ‭accessible,‬ ‭but‬ ‭instead‬

  ‭whether‬ ‭a‬ ‭party‬ ‭to‬ ‭that‬ ‭communication‬ ‭has‬ ‭consented‬ ‭to‬ ‭the‬ ‭download.‬ ‭The‬

  ‭wiretap‬ ‭statute,‬ ‭as‬ ‭applied,‬ ‭would‬ ‭permit‬ ‭the‬ ‭government‬ ‭to‬ ‭selectively‬

  ‭investigate‬ ‭and‬ ‭prosecute‬ ‭individuals‬ ‭for‬ ‭accessing‬ ‭and‬ ‭publishing‬ ‭freely‬

  ‭available‬ ‭information‬ ‭online.‬ ‭As‬ ‭applied,‬ ‭the‬ ‭statute‬ ‭would‬ ‭chill‬ ‭protected‬

  ‭speech,‬ ‭and‬ ‭discourage‬ ‭activities‬ ‭protected‬ ‭under‬ ‭the‬ ‭First‬ ‭Amendment.‬

  ‭Although‬‭content‬‭and‬‭viewpoint‬‭neutral,‬‭the‬‭breadth‬‭and‬‭scope‬‭of‬‭such‬‭a‬‭statute‬

  ‭is‬‭unimaginable‬‭-‬‭and‬‭would‬‭require‬‭any‬‭person‬‭to‬‭establish‬‭not‬‭just‬‭accessibility,‬

  ‭but‬ ‭actual‬ ‭consent‬ ‭(permission)‬ ‭to‬ ‭view‬ ‭and‬ ‭listen‬ ‭to‬ ‭each‬ ‭and‬ ‭every‬ ‭bit‬ ‭of‬




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  ‭information‬‭online.‬ ‭The‬‭indictment‬‭counts‬‭triggering‬‭this‬‭overbreadth‬‭should‬‭be‬

  ‭dismissed. (‬‭Counts 8, 9, 10, 11, 12, 13, and 14)‬

           I‭ .‬    ‭To‬ ‭The‬ ‭Extent‬ ‭the‬ ‭Wiretap‬ ‭Statute‬ ‭Permits‬ ‭Prosecution‬ ‭For‬
  ‭Downloading‬‭Publicly‬‭Accessible‬‭Information‬‭Because‬‭it‬‭Contains‬‭the‬‭Human‬
   ‭Voice,‬ ‭It‬ ‭is‬ ‭Unconstitutionally‬ ‭Overbroad‬ ‭And‬ ‭Prohibits‬ ‭First‬ ‭Amendment‬
    ‭Protected Activities‬

        ‭ .‬ ‭Journalist‬‭Tim‬‭Burke‬‭Has‬‭Standing‬‭to‬‭Mount‬‭Both‬‭an‬‭As-Applied‬
        A
  ‭and Facial Challenge to the Statute‬

          ‭As‬‭a‬‭criminal‬‭defendant‬‭and‬‭journalist‬‭whose‬‭newsroom‬‭was‬‭searched‬‭and‬

  ‭seized,‬ ‭and‬ ‭who‬ ‭has‬ ‭been‬ ‭indicted‬ ‭based‬ ‭on‬ ‭the‬ ‭government’s‬ ‭theory‬ ‭of‬ ‭the‬

  ‭application‬ ‭of‬ ‭the‬ ‭wiretap‬ ‭statute,‬ ‭Mr.‬ ‭Burke‬ ‭has‬ ‭suffered‬‭a‬‭“real‬‭and‬‭concrete”‬

  ‭injury‬ ‭in‬ ‭fact‬ ‭and‬ ‭has‬ ‭standing‬ ‭to‬ ‭challenge‬ ‭the‬ ‭scope‬ ‭of‬ ‭the‬ ‭application‬ ‭of‬ ‭the‬

  ‭statute‬‭to‬‭him.‬‭Tinsley‬‭Media,‬‭LLC‬‭v.‬‭Pickens‬‭Cnty.‬‭,‬‭203‬‭F.‬‭App'x‬‭268,‬‭272‬‭(11th‬‭Cir.‬

  ‭2006).‬‭To‬‭determine‬‭whether‬‭a‬‭challenge‬‭to‬‭the‬‭constitutionality‬‭of‬‭a‬‭law‬‭is‬‭facial‬

  ‭or‬ ‭as-applied,‬ ‭the‬ ‭label‬ ‭of‬ ‭the‬ ‭claim‬ ‭is‬ ‭not‬ ‭what‬ ‭matters;‬ ‭rather,‬ ‭the‬ ‭important‬

  ‭point‬‭for‬‭identifying‬‭the‬‭nature‬‭of‬‭a‬‭challenge‬‭is‬‭whether‬‭the‬‭plaintiff's‬‭claim‬‭and‬

  ‭the‬ ‭relief‬ ‭that‬ ‭would‬ ‭follow‬ ‭reach‬ ‭beyond‬ ‭the‬ ‭particular‬ ‭circumstances‬ ‭of‬ ‭the‬

  ‭plaintiff.‬ ‭Project Veritas v. Schmidt‬‭, 125 F.4th 929, 940 (9th Cir. 2025)(headnote 6).‬

          ‭B.‬    ‭The Statute is Unconstitutional As Applied to Journalist Burke‬

          ‭As‬‭a‬‭journalist‬‭whose‬‭future‬‭data‬‭collection‬‭and‬‭reporting‬‭will‬‭be‬‭impacted‬

  ‭by‬ ‭the‬ ‭government’s‬ ‭interpretation‬ ‭of‬ ‭the‬ ‭wiretap‬ ‭statute‬ ‭to‬ ‭prohibit‬ ‭the‬

  ‭acquisition‬ ‭of‬ ‭information‬ ‭from‬ ‭publicly‬ ‭accessible‬ ‭servers,‬ ‭in‬ ‭a‬ ‭way‬ ‭likely‬ ‭to‬

  ‭chill‬ ‭future‬ ‭investigative‬ ‭journalism‬ ‭by‬ ‭all‬ ‭journalists,‬ ‭he‬ ‭has‬ ‭standing‬ ‭to‬


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  ‭challenge‬‭the‬‭application‬‭of‬‭the‬‭statute‬‭as‬‭applied‬‭to‬‭himself.‬ ‭“A‬‭statute‬‭or‬‭a‬‭rule‬

  ‭may‬ ‭be‬ ‭held‬ ‭constitutionally‬ ‭invalid‬ ‭as‬ ‭applied‬ ‭when‬ ‭it‬ ‭operates‬ ‭to‬ ‭deprive‬ ‭an‬

  ‭individual‬‭of‬‭a‬‭protected‬‭right‬‭although‬‭its‬‭general‬‭validity‬‭as‬‭a‬‭measure‬‭enacted‬

  ‭in‬‭the‬‭legitimate‬‭exercise‬‭of‬‭state‬‭power‬‭is‬‭beyond‬‭question.”‬‭Boddie‬‭v.‬‭Conn‬‭.,‬‭401‬

  ‭U.S.‬‭371,‬‭379,‬‭91‬‭S.Ct.‬‭780,‬‭28‬‭L.Ed.2d‬‭113‬‭(1971).‬ ‭We‬‭stress‬‭here,‬‭that‬‭we‬‭do‬‭not‬

  ‭contend‬ ‭that‬ ‭there‬ ‭are‬ ‭no‬ ‭applications‬ ‭of‬ ‭the‬ ‭wiretap‬ ‭statute‬ ‭that‬ ‭are‬ ‭not‬

  ‭constitutional‬ ‭-‬ ‭as‬ ‭applied‬ ‭to‬ ‭the‬ ‭non-consensual‬ ‭interception‬ ‭of‬ ‭private‬

  ‭telephone‬ ‭calls‬ ‭which‬ ‭are‬ ‭not‬ ‭configured‬ ‭to‬ ‭be‬ ‭readily‬ ‭accessible‬ ‭to‬ ‭the‬ ‭general‬

  ‭public,‬ ‭the‬ ‭statute‬ ‭achieves‬ ‭a‬ ‭legitimate‬‭purpose,‬‭and‬‭does‬‭not‬‭“chill”‬‭protected‬

  ‭speech.‬ ‭But‬ ‭as‬ ‭interpreted‬ ‭here‬ ‭to‬ ‭prohibit‬ ‭the‬ ‭download‬ ‭of‬ ‭any‬ ‭content‬

  ‭containing‬ ‭the‬ ‭human‬ ‭voice‬ ‭-‬ ‭even‬ ‭from‬ ‭publicly‬ ‭accessible‬ ‭places,‬ ‭it‬ ‭is‬

  ‭unconstitutional.‬

         ‭ .‬
         C    ‭The‬ ‭Statute‬ ‭is‬ ‭Facially‬ ‭Unconstitutional‬‭And‬‭Burke‬‭Has‬‭Standing‬
  ‭to Challenge the Statute on Its Face‬

          ‭In‬ ‭addition‬ ‭to‬ ‭threatening‬ ‭Burke’s‬ ‭own‬ ‭protected‬ ‭activity,‬ ‭the‬ ‭wiretap‬

  ‭statute‬ ‭as‬ ‭interpreted‬ ‭here‬ ‭“threatens‬ ‭others‬ ‭not‬ ‭before‬ ‭the‬ ‭court”‬‭—those‬ ‭who‬

  ‭desire‬‭to‬‭engage‬‭in‬‭legally‬‭protected‬‭expression‬‭but‬‭who‬‭may‬‭refrain‬‭from‬‭doing‬

  ‭so‬ ‭rather‬ ‭than‬ ‭risk‬ ‭prosecution‬ ‭or‬ ‭undertake‬ ‭to‬ ‭have‬ ‭the‬ ‭law‬ ‭declared‬ ‭partially‬

  ‭invalid,‬ ‭Brockett‬ ‭v.‬ ‭Spokane‬ ‭Arcades,‬ ‭Inc.‬‭,‬ ‭472‬ ‭U.S.‬ ‭491,‬ ‭503,‬ ‭105‬ ‭S.Ct.‬ ‭2794,‬ ‭86‬

  ‭L.Ed.2d‬ ‭394‬ ‭(1985)(unconstitutional‬ ‭parts‬ ‭of‬ ‭a‬ ‭statute‬ ‭can‬ ‭be‬ ‭stricken‬ ‭while‬ ‭the‬

  ‭non-offending‬ ‭parts‬ ‭are‬ ‭held‬ ‭in‬ ‭tact),‬ ‭because‬‭there‬‭is‬‭a‬‭realistic‬‭danger‬‭that‬‭the‬



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  ‭statute‬ ‭itself‬ ‭will‬ ‭significantly‬ ‭compromise‬ ‭recognized‬ ‭First‬ ‭Amendment‬

  ‭protections‬‭of‬‭the‬‭non-parties.‬‭Bd.‬‭of‬‭Airport‬‭Comm'rs‬‭of‬‭City‬‭of‬‭Los‬‭Angeles‬‭v.‬‭Jews‬

  ‭for‬ ‭Jesus,‬ ‭Inc.,‬ ‭482‬ ‭U.S.‬ ‭569,‬ ‭574,‬ ‭107‬ ‭S.‬ ‭Ct.‬ ‭2568,‬ ‭2572,‬ ‭96‬ ‭L.‬ ‭Ed.‬ ‭2d‬ ‭500‬

  ‭(1987)(airport‬ ‭terminal‬ ‭band‬ ‭on‬ ‭First‬ ‭Amendment‬ ‭speech‬ ‭not‬ ‭fairly‬ ‭subject‬ ‭to‬‭a‬

  ‭limiting‬ ‭construction).‬ ‭“To‬ ‭justify‬ ‭facial‬ ‭invalidation,‬ ‭a‬ ‭law's‬ ‭unconstitutional‬

  ‭applications‬ ‭must‬ ‭be‬ ‭realistic,‬ ‭not‬ ‭fanciful,‬ ‭and‬ ‭their‬ ‭number‬ ‭must‬ ‭be‬

  ‭substantially‬ ‭disproportionate‬ ‭to‬ ‭the‬ ‭statute's‬ ‭lawful‬ ‭sweep.”‬ ‭United‬ ‭States‬ ‭v.‬

  ‭Hansen‬‭, 599 U.S. 762, 770, 143 S. Ct. 1932, 1939, 216 L. Ed. 2d 692 (2023).‬

          ‭Here,‬ ‭the‬ ‭unconstitutional‬‭application‬‭is‬‭real‬‭and‬‭concrete,‬‭and‬‭if‬‭applied,‬

  ‭prohibits‬‭not‬‭only‬‭the‬‭acquisition‬‭of‬‭private‬‭communications,‬‭but‬‭a‬‭broad‬‭swath‬

  ‭of‬‭common‬‭internet‬‭communications.‬ ‭Burke,‬‭therefore,‬‭has‬‭standing‬‭to‬‭raise‬‭his‬

  ‭own‬ ‭claims‬ ‭“as‬ ‭applied”‬ ‭and‬ ‭because‬ ‭the‬ ‭application‬ ‭of‬ ‭the‬ ‭statute‬ ‭rests‬ ‭in‬ ‭the‬

  ‭“unbridled‬ ‭discretion”‬ ‭of‬ ‭prosecutors,‬ ‭to‬ ‭assert‬ ‭the‬ ‭claims‬ ‭of‬ ‭those‬ ‭of‬ ‭other‬

  ‭journalists‬‭and‬‭researchers‬‭in‬‭a‬‭facial‬‭challenge.‬‭See,‬‭e.g.,‬‭City‬‭of‬‭Lakewood‬‭v.‬‭Plain‬

  ‭Dealer‬ ‭Publ'g‬ ‭Co.,‬ ‭486‬ ‭U.S.‬ ‭750,‬ ‭757,‬ ‭108‬ ‭S.‬ ‭Ct.‬ ‭2138,‬ ‭2144,‬ ‭100‬ ‭L.‬ ‭Ed.‬ ‭2d‬ ‭771‬

  ‭(1988)(statute‬‭requiring‬‭permit‬‭to‬‭put‬‭up‬‭newsracks‬‭was‬‭unconstitutional‬‭despite‬

  ‭facial‬ ‭neutrality‬ ‭because‬ ‭it‬ ‭has‬ ‭a‬ ‭chilling‬ ‭effect‬ ‭on‬ ‭speech‬ ‭and‬ ‭vests‬ ‭“unbridled‬

  ‭discretion‬ ‭in‬ ‭a‬ ‭government‬ ‭official‬ ‭over‬ ‭whether‬ ‭to‬ ‭permit‬ ‭or‬ ‭deny‬ ‭expressive‬

  ‭activity…”)‬‭Id.‬‭486 U.S. 750, 755, 108 S. Ct. 2138, 2143, 100 L. Ed. 2d 771 (1988).‬

          ‭This‬ ‭case‬ ‭itself‬ ‭illustrates‬ ‭how‬ ‭the‬ ‭government‬ ‭can‬ ‭use‬ ‭the‬ ‭broad‬

  ‭interpretation‬‭of‬‭the‬‭wiretap‬‭statute‬‭to‬‭prosecute‬‭those‬‭who‬‭expose‬‭to‬‭the‬‭public‬


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  ‭information‬ ‭that‬ ‭others‬ ‭would‬ ‭rather‬ ‭keep‬ ‭secret‬ ‭-‬ ‭even‬‭if‬‭that‬‭information‬‭was‬

  ‭acquired from a publicly accessible, Internet addressable server.‬

        I‭ I.‬ ‭The‬ ‭Statute‬ ‭As‬ ‭Applied‬ ‭Violates‬ ‭the‬ ‭First‬ ‭Amendment‬ ‭Right‬ ‭of‬
  ‭Access to Communications and to Communicate‬

           ‭In‬‭Ashcroft‬‭v.‬‭Free‬‭Speech‬‭Coal.‬‭,‬‭535‬‭U.S.‬‭234,‬‭244,‬‭122‬‭S.‬‭Ct.‬‭1389,‬‭1398,‬‭152‬‭L.‬

  ‭Ed. 2d 403 (2002) the court recognized that:‬

            ‭ he‬ ‭First‬ ‭Amendment‬ ‭commands,‬ ‭“Congress‬ ‭shall‬ ‭make‬ ‭no‬ ‭law‬ ‭...‬
            T
            ‭abridging‬‭the‬‭freedom‬‭of‬‭speech.”‬‭The‬‭government‬‭may‬‭violate‬‭this‬
             ‭mandate‬ ‭in‬ ‭many‬ ‭ways,‬ ‭e.g.,‬ ‭Rosenberger‬ ‭v.‬ ‭Rector‬ ‭and‬ ‭Visitors‬ ‭of‬
              ‭Univ.‬ ‭of‬ ‭Va.‬‭,‬ ‭515‬ ‭U.S.‬ ‭819,‬ ‭115‬ ‭S.Ct.‬ ‭2510,‬ ‭132‬ ‭L.Ed.2d‬ ‭700‬ ‭(1995);‬
               ‭Keller‬ ‭v.‬ ‭State‬ ‭Bar‬ ‭of‬ ‭Cal.‬‭,‬ ‭496‬ ‭U.S.‬ ‭1,‬ ‭110‬ ‭S.Ct.‬ ‭2228,‬ ‭110‬ ‭L.Ed.2d‬ ‭1‬
                ‭(1990),‬‭but‬‭a‬‭law‬‭imposing‬‭criminal‬‭penalties‬‭on‬‭protected‬‭speech‬‭is‬
           ‭a stark example of speech suppression.‬

           ‭The‬ ‭First‬ ‭Amendment‬ ‭also‬ ‭includes‬ ‭the‬ ‭right‬ ‭of‬ ‭the‬ ‭press‬ ‭to‬ ‭publish‬

  ‭truthful‬‭and‬‭newsworthy‬‭content‬‭lawfully‬‭acquired.‬‭If‬‭the‬‭wiretap‬‭statute‬‭acts‬‭to‬

  ‭prohibit‬ ‭such‬ ‭activity,‬ ‭the‬ ‭application‬ ‭of‬ ‭that‬ ‭statute‬ ‭to‬ ‭journalists‬ ‭violates‬ ‭the‬

  ‭First‬ ‭Amendment.‬            ‭Statutes‬ ‭that‬ ‭operate‬ ‭in‬ ‭a‬ ‭manner‬ ‭that‬ ‭acts‬ ‭to‬ ‭prohibit‬ ‭or‬

  ‭restrict‬ ‭free‬ ‭speech‬ ‭and‬ ‭free‬ ‭expression‬ ‭activities‬ ‭-‬ ‭even‬ ‭if‬ ‭they‬ ‭do‬ ‭so‬ ‭without‬

  ‭reference‬ ‭to‬ ‭content‬ ‭or‬ ‭viewpoint‬ ‭-‬ ‭may‬ ‭violate‬ ‭the‬ ‭First‬ ‭Amendment.‬                            ‭Most‬

  ‭recently‬ ‭in‬ ‭TikTok‬ ‭Inc.‬ ‭v.‬ ‭Garland‬‭,‬ ‭145‬ ‭S.‬ ‭Ct.‬ ‭57,‬ ‭66,‬ ‭220‬ ‭L.‬ ‭Ed.‬ ‭2d‬‭319‬‭(2025),‬‭the‬

  ‭Supreme‬‭Court‬‭set‬‭out‬‭a‬‭litany‬‭of‬‭expressive‬‭and‬‭associational‬‭and‬‭speech‬‭rights‬

  ‭guaranteed‬‭by‬‭the‬‭First‬‭Amendment,‬‭including‬‭criticizing‬‭laws‬‭that‬‭“foreclose‬‭an‬

  ‭entire‬‭medium‬‭of‬‭expression.”‬‭Id.‬‭,‬‭citing‬‭City‬‭of‬‭Ladue‬‭v.‬‭Gilleo‬‭,‬‭512‬‭U.S.‬‭43,‬‭54–58,‬

  ‭114‬ ‭S.Ct.‬ ‭2038,‬ ‭129‬ ‭L.Ed.2d‬ ‭36‬ ‭(1994).‬ ‭The‬ ‭wiretap‬ ‭statute,‬ ‭as‬ ‭interpreted,‬


                                                         ‭8‬
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  ‭prohibits‬ ‭the‬ ‭acquisition‬ ‭of‬ ‭freely‬ ‭accessible‬ ‭information,‬ ‭and‬ ‭chills‬ ‭and‬

  ‭criminalizes expressive conduct and speech. This renders it unconstitutional.‬

          ‭“It‬ ‭is‬ ‭now‬ ‭well‬ ‭established‬ ‭that‬ ‭the‬ ‭Constitution‬ ‭protects‬ ‭the‬ ‭right‬ ‭to‬

  ‭receive‬ ‭information‬ ‭and‬ ‭ideas.‬ ‭‘This‬ ‭freedom‬ ‭(of‬ ‭speech‬ ‭and‬ ‭press)‬ ‭*‬ ‭*‬ ‭*‬

  ‭necessarily‬‭protects‬‭the‬‭right‬‭to‬‭receive‬‭*‬‭*‬‭*.’‬‭….‬‭This‬‭right‬‭to‬‭receive‬‭information‬

  ‭and‬ ‭ideas,‬‭regardless‬‭of‬‭their‬‭social‬‭worth,...‬‭is‬‭fundamental‬‭to‬‭our‬‭free‬‭society.”‬

  ‭Stanley‬‭v.‬‭Georgia‬‭394‬‭U.S.‬‭557,‬‭564‬‭(1969).‬‭See‬‭First‬‭Nat.‬‭Bank‬‭of‬‭Bos.‬‭v.‬‭Bellotti‬‭,‬‭435‬

  ‭U.S.‬‭765,‬‭783,‬‭98‬‭S.‬‭Ct.‬‭1407,‬‭1419,‬‭55‬‭L.‬‭Ed.‬‭2d‬‭707‬‭(1978)(“[T]he‬‭First‬‭Amendment‬

  ‭goes‬ ‭beyond‬ ‭protection‬ ‭of‬ ‭the‬ ‭press‬ ‭and‬ ‭the‬ ‭self-expression‬ ‭of‬ ‭individuals‬ ‭to‬

  ‭prohibit‬‭government‬‭from‬‭limiting‬‭the‬‭stock‬‭of‬‭information‬‭from‬‭which‬‭members‬

  ‭of‬‭the‬‭public‬‭may‬‭draw.”)‬ ‭Without‬‭the‬‭ability‬‭to‬‭download‬‭(and‬‭later‬‭distribute)‬

  ‭publicly‬‭accessible‬‭streaming‬‭information‬‭from‬‭these‬‭and‬‭other‬‭sites,‬‭individuals‬

  ‭cease to perform these functions. This restricts both speech and association.‬

         I‭ II.‬ ‭The‬ ‭Overbreadth‬ ‭of‬ ‭the‬ ‭Statute‬ ‭Gives‬ ‭Prosecutors‬ ‭Unbridled‬
  ‭Discretion Over Whom to Prosecute‬

          ‭Even‬ ‭if‬ ‭the‬ ‭wiretap‬ ‭statute‬ ‭is‬ ‭viewpoint‬ ‭and‬ ‭content-neutral,‬ ‭its‬

  ‭overbreadth‬ ‭as‬ ‭applied‬ ‭to‬ ‭expressive‬ ‭activity‬ ‭threatens‬ ‭a‬ ‭host‬ ‭of‬‭protected‬‭First‬

  ‭Amendment‬‭protected‬‭speech,‬‭Virginia‬‭v.‬‭Hicks‬‭,‬‭539‬‭U.S.‬‭113,‬‭119,‬‭123‬‭S.Ct.‬‭2191,‬

  ‭156‬ ‭L.Ed.2d‬‭148‬‭(2003),‬‭and‬‭gives‬‭prosecutors‬‭“unbridled‬‭discretion”‬‭over‬‭when‬

  ‭to‬ ‭prosecute‬ ‭-‬ ‭even‬ ‭based‬ ‭on‬ ‭the‬ ‭nature‬ ‭of‬ ‭the‬ ‭information‬‭obtained.‬‭“The‬‭First‬

  ‭Amendment‬ ‭prohibits‬ ‭the‬ ‭vesting‬‭of‬‭such‬‭unbridled‬‭discretion‬‭in‬‭a‬‭government‬



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 ‭official.”‬ ‭Forsyth‬ ‭County‬ ‭v.‬ ‭Nationalist‬ ‭Movement,‬ ‭505‬ ‭US‬ ‭123,‬ ‭133,‬ ‭120‬ ‭L.Ed.2d‬

 ‭101,112 S.Ct. 2395 (1992).‬

         ‭Here,‬ ‭the‬ ‭government‬ ‭claims‬‭that‬‭the‬‭statute‬‭can‬‭be‬‭appropriately‬‭read‬‭to‬

 ‭prohibit‬ ‭all‬ ‭acquisitions‬ ‭of‬ ‭communications‬ ‭containing‬ ‭the‬ ‭human‬ ‭voice‬ ‭from‬

 ‭any‬ ‭source‬ ‭whatsoever‬ ‭and‬ ‭in‬ ‭any‬ ‭manner‬ ‭whatsoever,‬ ‭irrespective‬ ‭of‬ ‭the‬

 ‭privacy‬ ‭rights‬ ‭of‬ ‭the‬ ‭participants.‬ ‭To‬ ‭avoid‬ ‭overbreadth,‬ ‭“[a]‬ ‭narrowly‬ ‭tailored‬

 ‭statute‬‭“targets‬‭and‬‭eliminates‬‭no‬‭more‬‭than‬‭the‬‭exact‬‭source‬‭of‬‭the‬‭‘evil’‬‭it‬‭seeks‬

 ‭to‬ ‭remedy.”‬ ‭Frisby‬ ‭v.‬ ‭Schultz,‬ ‭487‬ ‭U.S.‬ ‭474,‬ ‭475,‬ ‭108‬ ‭S.Ct.‬ ‭2495,‬ ‭101‬ ‭L.Ed.2d‬ ‭420‬

 ‭(1988).‬‭See,‬‭Vigue‬‭v.‬‭Shoar‬‭,‬‭494‬‭F.‬‭Supp.‬‭3d‬‭1204,‬‭1228‬‭(M.D.‬‭Fla.‬‭2020),‬‭dismissed,‬

 ‭No.‬‭20-14285-V,‬‭2021‬‭WL‬‭11628665‬‭(11th‬‭Cir.‬‭Sept.‬‭1,‬‭2021)(state‬‭statute's‬‭general‬

 ‭prohibition‬ ‭of‬ ‭charitable‬ ‭solicitation‬ ‭on‬ ‭public‬ ‭rights-of-way‬ ‭was‬ ‭overbroad).‬

 ‭Here,‬ ‭the‬ ‭“evil”‬ ‭the‬ ‭wiretap‬‭statute‬‭was‬‭intended‬‭to‬‭remedy‬‭was‬‭an‬‭invasion‬‭of‬

 ‭privacy.‬ ‭The‬ ‭statute‬ ‭as‬ ‭applied‬ ‭in‬ ‭Mr.‬ ‭Burke’s‬ ‭indictment‬ ‭fully‬ ‭prohibits‬

 ‭accessing or sharing public information.‬

        I‭ V.‬ ‭The‬ ‭Court‬ ‭Cannot‬ ‭Simply‬ ‭Redefine‬ ‭“Intercept”‬ ‭to‬ ‭Save‬ ‭The‬
 ‭Indictment‬

         ‭The‬‭statute‬‭is‬‭overbroad‬‭because‬‭it‬‭prohibits‬‭on‬‭its‬‭face‬‭all‬‭“interceptions”‬

 ‭not‬ ‭just‬ ‭those‬ ‭which‬ ‭are‬ ‭“unlawful”or‬ ‭surreptitious.‬ ‭18‬‭USC‬‭2510(4)‬‭defines‬‭the‬

 ‭term‬ ‭“intercept”‬ ‭as‬ ‭“the‬ ‭aural‬ ‭or‬ ‭other‬ ‭acquisition‬ ‭of‬ ‭the‬ ‭contents‬ ‭of‬ ‭any‬ ‭wire,‬

 ‭electronic,‬‭or‬‭oral‬‭communication‬‭through‬‭the‬‭use‬‭of‬‭any‬‭electronic,‬‭mechanical,‬

 ‭or‬ ‭other‬ ‭device.”‬ ‭While‬ ‭a‬ ‭colloquial‬ ‭view‬ ‭of‬ ‭“interception”‬ ‭or‬‭“eavesdropping”‬



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 ‭or‬ ‭“wiretapping”‬ ‭might‬ ‭imply‬ ‭some‬ ‭of‬ ‭what‬ ‭Justice‬ ‭Black‬ ‭called‬ ‭“listening‬

 ‭secretly‬ ‭and‬ ‭sometimes‬ ‭‘snoopily’‬ ‭to‬ ‭conversations‬ ‭and‬ ‭discussions‬ ‭believed‬ ‭to‬

 ‭be‬ ‭private‬ ‭by‬ ‭those‬ ‭who‬ ‭engage‬ ‭in‬ ‭them.”‬‭Berger‬ ‭v.‬ ‭State‬‭of‬‭N.Y.‬‭,‬‭388‬‭U.S.‬‭41,‬‭71,‬

 ‭87‬ ‭S.‬ ‭Ct.‬ ‭1873,‬ ‭18‬ ‭L.‬ ‭Ed.‬ ‭2d‬ ‭1040‬ ‭(1967)‬ ‭(Black,‬ ‭J.‬ ‭dissenting),‬ ‭the‬ ‭statute’s‬

 ‭definition speaks for itself.‬

         ‭The‬ ‭government‬ ‭has‬ ‭argued‬ ‭that‬ ‭the‬ ‭Court‬‭can‬‭save‬‭the‬‭statute,‬‭and‬‭thus‬

 ‭the‬ ‭Indictment,‬ ‭by‬ ‭adopting‬ ‭a‬ ‭different‬ ‭definition‬ ‭of‬ ‭“intercept”‬ ‭to‬ ‭mean‬ ‭more‬

 ‭than‬‭the‬‭simple‬‭acquisition‬‭of‬‭the‬‭contents‬‭of‬‭a‬‭communication,‬‭in‬‭abrogation‬‭of‬

 ‭the‬‭definition‬‭chosen‬‭by‬‭Congress.‬ ‭Congress’‬‭use‬‭of‬‭clear‬‭definitions‬‭makes‬‭them‬

 ‭virtually‬ ‭conclusive.‬ ‭Sturgeon‬ ‭v.‬ ‭Frost,‬ ‭587‬ ‭U.S.‬ ‭28,‬ ‭56,‬ ‭139‬ ‭S.Ct.‬ ‭1066,‬ ‭1086,‬

 ‭(2019)(defining‬ ‭“land”‬ ‭in‬ ‭the‬ ‭context‬ ‭of‬ ‭the‬ ‭Alaska‬ ‭National‬ ‭Interest‬ ‭Lands‬

 ‭Conservation‬ ‭Act‬ ‭(ANILCA))‬‭.‬ ‭“This‬ ‭Court‬ ‭will‬ ‭not‬ ‭deviate‬ ‭from‬ ‭an‬ ‭express‬

 ‭statutory‬‭definition‬‭merely‬‭because‬‭it‬‭‘varies‬‭from‬‭the‬‭term's‬‭ordinary‬‭meaning.’”‬

 ‭Department‬‭of‬‭Agriculture‬‭Rural‬‭Development‬‭Rural‬‭Housing‬‭Service‬‭v.‬‭Kirtz,‬‭601‬‭U.S.‬

 ‭42,‬‭59,‬‭144‬‭S.Ct.‬‭457,‬‭217‬‭L.Ed.2d‬‭361‬‭(2024),‬‭citing‬‭Digital‬‭Realty‬‭Tr.,‬‭Inc.‬‭v.‬‭Somers,‬

 ‭583‬ ‭U.S.‬ ‭149,‬ ‭163–64,‬ ‭138‬ ‭S.‬ ‭Ct.‬ ‭767,‬ ‭778,‬ ‭200‬‭L.‬‭Ed.‬‭2d‬‭15‬‭(2018).‬ ‭The‬‭court‬‭will‬

 ‭only‬ ‭decline‬ ‭to‬ ‭apply‬ ‭a‬ ‭statutory‬ ‭definition‬ ‭“where‬ ‭doing‬ ‭so‬ ‭would‬ ‭have‬ ‭been‬

 ‭“incompatible‬ ‭with‬ ‭...‬ ‭Congress'‬ ‭regulatory‬ ‭scheme,”‬ ‭…‬ ‭or‬ ‭would‬ ‭have‬

 ‭“destroy[ed]‬ ‭one‬ ‭of‬ ‭the‬ ‭[statute's]‬ ‭major‬ ‭purposes.”‬ ‭Digital‬ ‭Realty‬ ‭Tr.,‬ ‭Inc.‬ ‭v.‬

 ‭Somers,‬ ‭583‬ ‭U.S.‬ ‭149,‬ ‭163–64,‬ ‭138‬ ‭S.‬ ‭Ct.‬‭767,‬‭778,‬‭200‬‭L.‬‭Ed.‬‭2d‬‭15‬‭(2018)(internal‬

 ‭citations‬‭omitted).‬‭Here,‬‭the‬‭problem‬‭is‬‭not‬‭that‬‭the‬‭definition‬‭of‬‭“intercept”‬‭does‬


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 ‭not‬ ‭achieve‬ ‭the‬ ‭purpose‬ ‭of‬ ‭the‬ ‭regulation‬ ‭-‬ ‭it‬‭is‬‭that‬‭it‬‭also‬‭extends‬‭the‬‭scope‬‭of‬

 ‭the statute to prohibit protected First Amendment activities.‬

         ‭Nor‬ ‭can‬ ‭the‬ ‭court‬ ‭rely‬ ‭on‬ ‭governmental‬ ‭promises‬ ‭that‬ ‭it‬ ‭will‬ ‭not,‬ ‭in‬ ‭the‬

 ‭future,‬ ‭apply‬ ‭the‬ ‭statute‬ ‭as‬ ‭it‬ ‭does‬ ‭here‬‭-‬‭to‬‭the‬‭download‬‭of‬‭information‬‭freely‬

 ‭available‬‭online.‬ ‭As‬‭the‬‭Court‬‭noted‬‭in‬‭United‬‭States‬‭v.‬‭Stevens,‬‭559‬‭U.S.‬‭460,‬‭462,‬

 ‭130‬ ‭S.‬ ‭Ct.‬ ‭1577,‬ ‭1581,‬ ‭176‬ ‭L.‬ ‭Ed.‬ ‭2d‬ ‭435‬ ‭(2010),‬ ‭the‬ ‭“Court‬ ‭will‬ ‭not‬ ‭uphold‬ ‭an‬

 ‭unconstitutional‬ ‭statute‬ ‭merely‬ ‭because‬ ‭the‬ ‭Government‬ ‭promises‬ ‭to‬ ‭use‬ ‭it‬

 ‭responsibly.‬ ‭Nor‬ ‭can‬ ‭the‬ ‭Court‬ ‭construe‬ ‭this‬ ‭statutory‬ ‭language‬ ‭to‬ ‭avoid‬

 ‭constitutional‬‭doubt.”‬‭A‬‭limiting‬‭construction‬‭can‬‭be‬‭imposed‬‭only‬‭if‬‭the‬‭statute‬

 ‭“is‬ ‭‘readily‬ ‭susceptible’‬ ‭to‬ ‭such‬ ‭a‬ ‭construction.”‬ ‭Reno‬ ‭v.‬ ‭American‬ ‭Civil‬ ‭Liberties‬

 ‭Union‬‭, 521 U.S. 844, 884, 117 S.Ct. 2329, 138 L.Ed.2d‬‭874.‬

      ‭ .‬ ‭The‬ ‭Wiretap‬ ‭Statute‬ ‭May‬ ‭Also‬ ‭Prohibit‬ ‭Acquisition‬ ‭of‬ ‭Wire‬
      V
 ‭Communications “In Transmission” Rather Than As They Are Made.‬

         ‭The‬ ‭breadth‬ ‭of‬ ‭the‬ ‭statutory‬ ‭exclusion‬ ‭on‬ ‭acquiring‬ ‭the‬ ‭contents‬ ‭of‬ ‭a‬

 ‭communication‬ ‭containing‬ ‭the‬ ‭human‬ ‭voice‬ ‭is‬ ‭exacerbated‬ ‭by‬ ‭the‬ ‭fact‬ ‭that‬ ‭the‬

 ‭statute‬ ‭is‬ ‭not‬ ‭clear‬ ‭whether‬ ‭the‬ ‭“interception”‬ ‭must‬ ‭be‬ ‭“contemporaneous‬‭with‬

 ‭the‬ ‭communication‬‭”‬ ‭as‬ ‭suggested‬ ‭in‬ ‭United‬ ‭States‬ ‭v.‬ ‭Turk‬‭,‬ ‭526‬ ‭F.2d‬ ‭654,‬ ‭658‬ ‭(5th‬

 ‭Cir.‬ ‭1976)‬ ‭or‬ ‭contemporaneous‬ ‭with‬ ‭the‬ ‭transmission‬ ‭of‬ ‭that‬ ‭communication‬ ‭as‬

 ‭suggested‬ ‭by‬ ‭every‬ ‭other‬ ‭case.‬ ‭United‬ ‭States‬ ‭v.‬ ‭Steiger‬‭,‬ ‭318‬‭F.3d‬‭1039,‬‭1047‬‭(11th‬

 ‭Cir.‬ ‭2003)‬ ‭Steve‬ ‭Jackson‬ ‭Games,‬ ‭Inc.‬ ‭v.‬ ‭Secret‬ ‭Service,‬ ‭36‬ ‭F.3d‬ ‭457‬ ‭(5th‬ ‭Cir.1994);‬

 ‭Konop‬ ‭v.‬ ‭Hawaiian‬ ‭Airlines,‬ ‭Inc‬‭.,‬ ‭236‬‭F.3d‬‭1035,‬‭1043‬‭(9th‬‭Cir.),‬‭opinion‬‭withdrawn‬‭,‬



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 ‭262‬ ‭F.3d‬ ‭972‬ ‭(9th‬ ‭Cir.‬ ‭2001),‬ ‭and‬ ‭superseded,‬ ‭302‬ ‭F.3d‬ ‭868‬ ‭(9th‬ ‭Cir.‬ ‭2002)(“The‬

 ‭law‬ ‭by‬ ‭which‬ ‭such‬ ‭acts‬ ‭of‬ ‭downloading‬ ‭are‬ ‭judged‬ ‭has‬ ‭changed‬ ‭significantly,‬

 ‭however,‬ ‭since‬ ‭Turk‬ ‭read‬ ‭its‬ ‭contemporaneity‬ ‭requirement‬ ‭into‬ ‭the‬ ‭Wiretap‬

 ‭Act.”);‬ ‭United‬ ‭States‬ ‭v.‬ ‭Smith,‬ ‭155‬ ‭F.3d‬ ‭1051,‬ ‭1058‬ ‭(9th‬ ‭Cir.‬ ‭1998);‬ ‭Fraser‬ ‭v.‬

 ‭Nationwide‬ ‭Mut.‬ ‭Ins.‬ ‭Co.‬‭,‬ ‭352‬ ‭F.3d‬ ‭107,‬ ‭114‬ ‭(3d‬ ‭Cir.‬ ‭2003),‬ ‭as‬ ‭amended‬ ‭(Jan.‬ ‭20,‬

 ‭2004).‬     ‭The‬ ‭ambiguity‬ ‭is‬ ‭compounded‬ ‭by‬ ‭the‬ ‭fact‬ ‭that‬ ‭the‬ ‭definition‬ ‭of‬

 ‭interception‬ ‭of‬ ‭“wire‬ ‭communication”‬ ‭included‬ ‭interception‬ ‭“in‬ ‭storage”‬ ‭-‬

 ‭obviating‬ ‭Turk’s‬ ‭conception‬ ‭that‬ ‭contemporaneity‬ ‭with‬ ‭the‬ ‭communication‬ ‭was‬

 ‭required,‬ ‭but‬ ‭that‬ ‭term‬ ‭was‬ ‭later‬ ‭removed.‬ ‭(USA‬ ‭Patriot‬ ‭Act‬ ‭§‬ ‭209,‬‭Pub.‬‭L.‬‭No.‬

 ‭107–56, § 209(1)(A), 115 Stat. 272, 283 (2001)).‬

         ‭The‬ ‭weight‬ ‭of‬ ‭these‬ ‭cases‬ ‭would‬ ‭suggest‬ ‭that‬ ‭a‬ ‭person‬‭violates‬‭the‬‭“wire‬

 ‭communication”‬ ‭statute‬ ‭when‬ ‭they‬ ‭“intercept”‬ ‭even‬ ‭a‬ ‭rebroadcast‬ ‭of‬ ‭a‬

 ‭communication‬ ‭containing‬ ‭the‬ ‭human‬ ‭voice,‬ ‭if‬ ‭that‬ ‭“interception”‬ ‭is‬ ‭while‬ ‭the‬

 ‭rebroadcast‬‭is‬‭“in‬‭transmission.”‬‭The‬‭former‬‭definition‬‭would‬‭still‬‭be‬‭overbroad,‬

 ‭covering‬ ‭the‬ ‭acquisition‬ ‭of‬ ‭any‬ ‭live‬ ‭feeds,‬ ‭streams,‬ ‭news,‬ ‭webcams,‬ ‭or‬ ‭similar‬

 ‭content.‬     ‭The‬ ‭latter‬ ‭definition‬ ‭would‬ ‭also‬ ‭include‬ ‭any‬ ‭transmitted‬ ‭content‬

 ‭containing‬ ‭the‬ ‭human‬ ‭voice‬ ‭-‬ ‭movies,‬ ‭songs,‬ ‭TikToks,‬ ‭YouTube‬ ‭videos‬ ‭and‬‭the‬

 ‭like that are not “live streaming.”‬




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       ‭ I.‬ ‭The‬ ‭Statute‬ ‭Cannot‬ ‭Be‬ ‭Saved‬ ‭By‬ ‭Making‬ ‭“Consent”‬ ‭An‬ ‭Element‬
       V
 ‭Rather than An Affirmative Defense‬

         ‭At‬‭the‬‭May‬‭6‬‭hearing,‬‭this‬‭Cout‬‭wondered‬‭if‬ ‭United‬‭States‬‭v.‬‭McCann‬‭,‬‭465‬

 ‭F.2d‬ ‭147‬‭(5th‬‭Cir.‬‭1972),‬‭prevented‬‭the‬‭constitutional‬‭challenge‬‭raised‬‭due‬‭to‬‭the‬

 ‭prior‬ ‭panel‬ ‭precedent‬ ‭rule.‬ ‭This‬ ‭rule‬ ‭declares‬ ‭that‬ ‭a‬ ‭prior‬ ‭panel‬ ‭rulings‬ ‭bind‬

 ‭subsequent‬ ‭panels‬ ‭until‬ ‭overruled‬ ‭by‬ ‭another‬ ‭en‬ ‭banc‬ ‭panel‬ ‭or‬ ‭the‬ ‭Supreme‬

 ‭Court.‬ ‭United‬‭States‬‭v.‬‭Archer‬‭,‬‭531‬‭F.3d‬‭1347,‬‭1352‬‭(11th‬‭Cir.‬‭2008).‬ ‭While‬‭the‬‭rule‬

 ‭applies‬ ‭even‬ ‭if‬ ‭the‬ ‭panel‬ ‭did‬ ‭not‬ ‭have‬ ‭the‬ ‭benefit‬ ‭of‬ ‭specific‬ ‭arguments,‬‭United‬

 ‭States‬‭v.‬‭Moore‬‭,‬‭22‬‭F.4th‬‭1258,‬‭1268‬‭(11th‬‭Cir.‬‭2022),‬‭the‬‭wholesale‬‭absence‬‭of‬‭any‬

 ‭constitutional challenge in‬‭McCann‬‭should not foreclose the current challenge.‬

         ‭Next,‬ ‭this‬ ‭Court‬ ‭has‬ ‭held‬ ‭that,‬ ‭under‬ ‭the‬ ‭wiretap‬ ‭statute,‬ ‭the‬ ‭issue‬ ‭of‬

 ‭whether‬‭or‬‭not‬‭a‬‭party‬‭to‬‭the‬‭communication‬‭has‬‭“consented”‬‭to‬‭the‬‭interception‬

 ‭is‬ ‭an‬ ‭affirmative‬ ‭defense‬ ‭which‬ ‭must‬ ‭be‬‭proven‬‭at‬‭trial.‬ ‭In‬‭1972,‬‭when‬‭McCann‬

 ‭was‬ ‭decided,‬‭prohibited‬‭“wire‬‭communications”‬‭were‬‭only‬‭transmitted‬‭through‬

 ‭a‬‭common‬‭carrier,‬‭and‬‭were‬‭essentially‬‭private‬‭telephone‬‭calls‬‭-‬‭usually‬‭between‬

 ‭two‬ ‭people.‬     ‭The‬ ‭ECPA‬ ‭expanded‬ ‭the‬ ‭scope‬ ‭of‬ ‭the‬ ‭type‬ ‭of‬ ‭communication‬

 ‭covered‬‭under‬‭the‬‭statute,‬‭because‬‭“existing‬‭title‬‭III‬‭applies‬‭only‬‭to‬‭interceptions‬

 ‭of‬ ‭communications‬ ‭sent‬ ‭via‬ ‭common‬ ‭carriers”‬ ‭S.‬ ‭REP.‬ ‭99-541,‬ ‭12,‬ ‭1986‬

 ‭U.S.C.C.A.N. 3555, 3556 and noting‬‭:‬

         ‭ ‬ ‭a‬ ‭wire‬ ‭communication‬ ‭encompasses‬ ‭the‬ ‭whole‬ ‭of‬ ‭a‬ ‭voice‬
         …
         ‭telephone‬‭transmission‬‭even‬‭if‬‭part‬‭of‬‭the‬‭transmission‬‭is‬‭carried‬‭by‬
          ‭fiber‬ ‭optic‬ ‭cable‬ ‭or‬ ‭by‬ ‭radio—as‬ ‭in‬ ‭the‬ ‭case‬ ‭of‬ ‭cellular‬ ‭telephones‬
           ‭and‬ ‭long‬ ‭distance‬‭satellite‬‭or‬‭micowave‬‭facilities.‬‭The‬‭conversion‬‭of‬


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          ‭ ‬ ‭voice‬ ‭signal‬ ‭to‬ ‭digital‬ ‭form‬‭for‬‭purposes‬‭of‬‭transmission‬‭does‬‭not‬
          a
          ‭render‬ ‭the‬ ‭communication‬ ‭non-wire‬‭.‬ ‭The‬ ‭term‬ ‭‘wire‬
           ‭communication’‬ ‭includes‬ ‭existing‬ ‭telephone‬ ‭service,‬ ‭and‬ ‭digitized‬
            ‭communications‬ ‭to‬ ‭the‬ ‭extent‬ ‭that‬ ‭they‬ ‭contain‬ ‭the‬‭human‬‭voice‬‭at‬
             ‭the‬ ‭point‬ ‭of‬ ‭origin,‬ ‭reception,‬ ‭or‬ ‭some‬ ‭point‬ ‭in‬ ‭between.‬ ‭A‬ ‭private‬
              ‭telephone‬ ‭system‬ ‭established‬ ‭by‬ ‭a‬ ‭company‬ ‭whose‬ ‭activities‬ ‭affect‬
         ‭interstate commerce, would also be covered.‬

         ‭Id.‬ ‭At‬‭the‬‭same‬‭time,‬‭new‬‭technologies‬‭have‬‭vastly‬‭expanded‬‭the‬‭ways‬‭in‬

 ‭which‬ ‭persons‬ ‭express‬ ‭themselves‬ ‭by‬ ‭posting,‬ ‭transmitting,‬ ‭downloading,‬

 ‭uploading,‬ ‭streaming‬ ‭and‬ ‭otherwise‬ ‭sharing‬ ‭“communications”‬ ‭which‬ ‭contain‬

 ‭the‬‭human‬‭voice.‬ ‭The‬‭scope‬‭of‬‭conduct‬‭covered‬‭by‬‭the‬‭statute‬‭in‬‭2025‬‭would‬‭be‬

 ‭unimaginable‬ ‭in‬ ‭1972‬ ‭when‬ ‭McCann‬ ‭was‬ ‭decided.‬ ‭Indeed,‬ ‭both‬ ‭changes‬ ‭in‬ ‭the‬

 ‭statute‬ ‭and‬ ‭the‬ ‭technology‬ ‭have‬ ‭laid‬ ‭bare‬ ‭constitutional‬ ‭concerns‬ ‭to‬ ‭the‬

 ‭application‬ ‭of‬ ‭the‬ ‭statute‬ ‭never‬ ‭presented‬ ‭or‬ ‭considered‬ ‭by‬ ‭the‬ ‭McCann‬ ‭court.‬

 ‭Applying‬ ‭the‬ ‭principle‬ ‭of‬ ‭constitutional‬ ‭avoidance,‬ ‭this‬ ‭Court‬ ‭can‬ ‭and‬ ‭should‬

 ‭readdress‬‭McCann‬‭under the circumstances here.‬

         ‭However,‬ ‭even‬‭if‬‭the‬‭statute‬‭is‬‭reinterpreted‬‭to‬‭require‬‭the‬‭government‬‭to‬

 ‭prove‬ ‭the‬ ‭“non-consensual”‬ ‭acquisition‬ ‭of‬ ‭wire‬ ‭communications,‬ ‭the‬ ‭statute‬

 ‭remains‬ ‭overbroad‬ ‭and‬ ‭does‬ ‭not‬ ‭solve‬ ‭the‬ ‭problem.‬ ‭The‬ ‭average‬ ‭Internet‬ ‭user‬

 ‭downloading‬ ‭a‬ ‭file,‬ ‭a‬ ‭stream,‬ ‭or‬ ‭a‬ ‭video,‬ ‭would‬ ‭have‬ ‭no‬ ‭way‬ ‭of‬ ‭knowing‬

 ‭whether‬ ‭the‬‭“party‬‭to‬‭the‬‭communication”‬‭did‬‭or‬‭did‬‭not‬‭consent‬‭to‬‭its‬‭posting,‬

 ‭streaming,‬‭or‬‭dissemination‬‭online.‬ ‭What‬‭they‬‭do‬‭know‬‭is‬‭whether‬‭the‬‭stream‬‭is‬

 ‭readily‬ ‭accessible.‬ ‭If‬ ‭the‬ ‭statute‬ ‭prohibits‬ ‭the‬ ‭“interception”‬ ‭of‬ ‭a‬ ‭live‬ ‭stream‬ ‭of‬

 ‭historically‬ ‭created‬ ‭data‬ ‭(say,‬ ‭the‬ ‭interception‬ ‭of‬ ‭the‬ ‭broadcast‬ ‭of‬ ‭the‬ ‭Nixon‬


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 ‭tapes),‬‭the‬‭“parties”‬‭to‬‭that‬‭communication‬‭cannot‬‭consent,‬‭and‬‭cannot‬‭give‬‭prior‬

 ‭consent, so the “interception” is unlawful.‬

         ‭Under‬ ‭18‬ ‭USC‬ ‭2511(3)(b)(ii),‬ ‭a‬ ‭person‬ ‭or‬ ‭entity‬ ‭providing‬ ‭electronic‬

 ‭communication‬ ‭service‬ ‭to‬ ‭the‬ ‭public‬ ‭may‬ ‭divulge‬ ‭the‬ ‭contents‬ ‭of‬ ‭any‬ ‭such‬

 ‭communication‬ ‭“with‬ ‭the‬ ‭lawful‬ ‭consent‬ ‭of‬ ‭the‬ ‭originator‬ ‭or‬ ‭any‬ ‭addressee‬ ‭or‬

 ‭intended‬ ‭recipient‬ ‭of‬ ‭such‬ ‭communication,”‬ ‭but‬ ‭the‬ ‭term‬ ‭“any‬ ‭such‬

 ‭communication”‬‭likely‬‭refers‬‭only‬‭to‬‭“electronic‬‭communications”‬‭and‬‭not‬‭“wire‬

 ‭communications,”‬ ‭and‬ ‭this‬ ‭refers‬‭to‬‭the‬‭right‬‭of‬‭the‬‭provider‬‭to‬‭publish,‬‭not‬‭the‬

 ‭right of a user to “intercept” or acquire.‬

         ‭The‬ ‭wire‬ ‭communications‬ ‭statute‬ ‭also‬ ‭requires‬ ‭that‬ ‭the‬ ‭“party”‬ ‭not‬ ‭only‬

 ‭consent‬ ‭to‬ ‭the‬ ‭interception,‬ ‭but‬ ‭that‬ ‭this‬ ‭“consent”‬ ‭be‬ ‭“prior‬ ‭consent.”‬ ‭It‬ ‭is‬ ‭not‬

 ‭clear whether this is “prior to the communication” or “prior to the interception.”‬

         ‭Additionally,‬ ‭the‬ ‭statute‬ ‭provides‬ ‭that‬ ‭the‬ ‭consent‬ ‭must‬ ‭be‬ ‭“to‬ ‭such‬

 ‭interception."‬ ‭This‬‭could‬‭mean‬‭that‬‭the‬‭party‬‭must‬‭consent‬‭individually‬‭to‬‭each‬

 ‭acquisition‬‭of‬‭the‬‭contents‬‭of‬‭their‬‭communication.‬‭As‬‭the‬‭Eleventh‬‭Circuit‬‭noted‬

 ‭in‬‭Watkins v. L.M. Berry & Co‬‭., 704 F.2d 577, 581‬‭(11th Cir. 1983):‬

         ‭ onsent‬ ‭under‬ ‭title‬ ‭III‬ ‭is‬ ‭not‬ ‭to‬ ‭be‬ ‭cavalierly‬ ‭implied.‬ ‭Title‬ ‭III‬
         C
         ‭expresses‬ ‭a‬ ‭strong‬ ‭purpose‬ ‭to‬ ‭protect‬ ‭individual‬‭privacy‬‭by‬‭strictly‬
          ‭limiting‬ ‭the‬ ‭occasions‬ ‭on‬ ‭which‬ ‭interception‬ ‭may‬ ‭lawfully‬ ‭take‬
           ‭place.‬ ‭See‬ ‭United‬ ‭States‬ ‭v.‬ ‭Harpel‬‭,‬ ‭493‬ ‭F.2d‬ ‭346,‬ ‭351‬ ‭(10th‬ ‭Cir.1974).‬
            ‭Stiff‬ ‭penalties‬ ‭are‬ ‭provided‬ ‭for‬ ‭its‬ ‭violation.‬ ‭It‬ ‭would‬ ‭thwart‬ ‭this‬
             ‭policy‬ ‭if‬ ‭consent‬ ‭could‬ ‭routinely‬ ‭be‬ ‭implied‬ ‭from‬ ‭circumstances.‬
              ‭Jandak‬ ‭v.‬ ‭Village‬ ‭of‬ ‭Brookfield,‬ ‭520‬ ‭F.Supp.‬ ‭815,‬ ‭820‬ ‭(N.D.Ill.1981).‬
               ‭Thus,‬ ‭knowledge‬ ‭of‬ ‭the‬ ‭capability‬ ‭of‬ ‭monitoring‬ ‭alone‬ ‭cannot‬ ‭be‬
                ‭considered‬‭implied‬‭consent.‬‭See‬‭Campiti‬‭v.‬‭Walonis‬‭,‬‭611‬‭F.2d‬‭387,‬‭394‬


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          (‭ 1st‬ ‭Cir.1979);‬ ‭Crooker‬ ‭v.‬ ‭United‬ ‭States‬ ‭Department‬ ‭of‬ ‭Justice‬‭,‬ ‭497‬
           ‭F.Supp.‬ ‭500,‬ ‭503‬ ‭(D.Conn.1980)‬ ‭(prisoners'‬ ‭knowledge‬ ‭that‬ ‭calls‬
         ‭were routinely monitored did not constitute consent to it).‬

 ‭Unlike‬ ‭oral‬ ‭communications,‬ ‭the‬ ‭wiretap‬ ‭statute‬ ‭prohibits‬ ‭t‭h
                                                                            ‬ e‬ ‭interception‬ ‭of‬

 ‭“wire”‬ ‭communications,‬ ‭by‬‭electronic,‬‭mechanical‬‭or‬‭other‬‭devices,‬ ‭“regardless‬

 ‭of‬‭the‬‭speaker's‬‭expectation‬‭of‬‭privacy.”‬‭Briggs‬‭v.‬‭Am.‬‭Air‬‭Filter‬‭Co.‬‭,‬‭630‬‭F.2d‬‭414,‬

 ‭417‬ ‭&‬ ‭n.4‬ ‭(5th‬ ‭Cir.‬ ‭1980).‬ ‭United‬ ‭States‬ ‭v.‬ ‭Ortiz-Lopez,‬ ‭651‬ ‭F.‬ ‭Supp.‬ ‭3d‬ ‭855,‬ ‭860‬

 ‭(W.D.‬ ‭Tex.‬ ‭2023).‬ ‭Thus,‬ ‭a‬ ‭wide‬‭variety‬‭of‬‭Internet‬‭content‬‭would‬‭be‬‭prohibited‬

 ‭unless there was actual “consent.”‬

         ‭Even‬ ‭stripped‬ ‭of‬ ‭its‬ ‭character‬ ‭as‬ ‭an‬ ‭“affirmative‬ ‭defense”‬ ‭it‬ ‭would‬ ‭be‬

 ‭constitutionally‬ ‭unworkable‬ ‭to‬ ‭prohibit‬ ‭the‬ ‭download‬ ‭of‬ ‭publicly‬ ‭accessible‬

 ‭information‬‭only‬‭with‬‭the‬‭“prior‬‭consent”‬‭of‬‭one‬‭of‬‭the‬‭participants.‬ ‭The‬‭statute‬

 ‭in‬ ‭light‬ ‭of‬ ‭today’s‬ ‭technological‬ ‭practices‬ ‭does‬ ‭not‬ ‭withstand‬ ‭constitutional‬

 ‭scrutiny.‬

         ‭Congress‬ ‭did‬ ‭not‬ ‭intend‬ ‭to‬ ‭make‬ ‭the‬ ‭downloading‬ ‭of‬ ‭publicly‬ ‭available‬

 ‭information‬‭into‬‭a‬‭crime.‬ ‭The‬‭standard‬‭is‬‭an‬‭objective‬‭standard‬‭based‬‭not‬‭on‬‭the‬

 ‭intent‬ ‭of‬ ‭the‬ ‭parties,‬ ‭their‬ ‭consent,‬ ‭their‬ ‭permission,‬ ‭or‬ ‭their‬ ‭expectation‬ ‭of‬

 ‭privacy,‬‭but‬‭based‬‭solely‬‭on‬‭how‬‭the‬‭server‬‭from‬‭which‬‭the‬‭communication‬‭was‬

 ‭acquired‬ ‭was‬ ‭configured,‬ ‭and‬ ‭placed‬ ‭the‬ ‭burden‬ ‭of‬ ‭proving‬ ‭that‬ ‭the‬

 ‭communications‬           ‭were‬     ‭not‬    ‭on‬     ‭a‬   ‭server‬   ‭so‬   ‭configured‬        ‭on‬   ‭the‬

 ‭Plaintiff/Government.‬




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         ‭“The‬ ‭term‬ ‭‘configure’‬ ‭is‬ ‭intended‬ ‭to‬ ‭establish‬ ‭an‬ ‭objective‬ ‭standard‬ ‭of‬

 ‭design‬ ‭configuration‬ ‭for‬ ‭determining‬ ‭whether‬ ‭a‬ ‭system‬ ‭receives‬ ‭privacy‬

 ‭protection.”‬‭S.‬‭REP.‬‭99-541,‬‭18,‬‭1986‬‭U.S.C.C.A.N.‬‭3555;‬‭Snow‬‭v.‬‭DirecTV,‬‭Inc.,‬‭450‬

 ‭F.3d‬ ‭1314,‬ ‭1321‬ ‭(11th‬ ‭Cir.‬ ‭2006)(no‬ ‭violation‬ ‭where‬ ‭communications‬ ‭are‬

 ‭configured‬ ‭to‬ ‭be‬ ‭readily‬ ‭accessible);‬ ‭Davis‬ ‭v.‬ ‭HDR‬ ‭Inc.‬‭,‬ ‭652‬ ‭F.‬ ‭Supp.‬ ‭3d‬ ‭1087,‬

 ‭1089–90‬‭(D.‬‭Ariz.‬‭2023),‬‭appeal‬‭dismissed‬‭,‬‭No.‬‭23-15233,‬‭2023‬‭WL‬‭5367499‬‭(9th‬‭Cir.‬

 ‭May‬‭10,‬‭2023)‬‭(relying‬‭on‬‭Snow‬‭to‬‭say‬‭Plaintiff’s‬‭post‬‭must‬‭be‬‭configured‬‭in‬‭some‬

 ‭way so as not be readily accessible to the public).‬

         ‭To‬ ‭the‬ ‭extent‬‭that‬‭these‬‭communications‬‭are‬‭“electronic‬‭communications”‬

 ‭in‬ ‭any‬ ‭respect,‬ ‭the‬ ‭government,‬ ‭not‬ ‭the‬ ‭journalist,‬ ‭must‬ ‭show‬ ‭that‬ ‭they‬ ‭were‬

 ‭“intercepted”‬‭“illegally.”‬ ‭It‬‭cannot‬‭be‬‭a‬‭crime‬‭to‬‭merely‬‭acquire‬‭Internet‬‭content,‬

 ‭and‬‭then‬‭require‬‭the‬‭defendant‬‭to‬‭prove‬‭that‬‭they‬‭did‬‭so‬‭lawfully.‬ ‭Only‬‭after‬‭the‬

 ‭government‬ ‭shows‬ ‭an‬‭“unlawful”‬‭acquisition‬‭(from‬‭a‬‭non-public‬‭server)‬‭should‬

 ‭the‬ ‭defendant‬ ‭be‬ ‭forced‬ ‭to‬ ‭prove‬ ‭that‬ ‭the‬ ‭acquisition‬ ‭was‬ ‭“justified”‬ ‭or‬

 ‭“permitted.”‬ ‭The‬ ‭Due‬ ‭Process‬ ‭Clause‬ ‭requires‬ ‭that‬‭the‬‭prosecution‬‭prove‬‭every‬

 ‭element‬‭of‬‭a‬‭crime‬‭beyond‬‭a‬‭reasonable‬‭doubt.‬‭The‬ ‭Sixth‬‭Amendment’‬‭mandates‬

 ‭that‬ ‭the‬ ‭accused‬ ‭“be‬ ‭informed‬ ‭of‬ ‭the‬ ‭nature‬ ‭and‬ ‭cause‬ ‭of‬ ‭the‬ ‭accusation.”‬

 ‭Criminalizing‬ ‭merely‬ ‭“acquiring‬ ‭the‬ ‭contents”‬ ‭of‬ ‭an‬ ‭electronic‬ ‭communication‬

 ‭does‬ ‭not‬ ‭survive‬ ‭First‬ ‭Amendment‬ ‭scrutiny,‬ ‭and‬ ‭punishes‬ ‭anyone‬ ‭who‬

 ‭downloads‬ ‭anything.‬          ‭The‬ ‭limiting‬ ‭principle,‬ ‭that‬ ‭the‬ ‭communications‬ ‭be‬

 ‭downloaded‬ ‭from‬ ‭a‬ ‭non-public‬ ‭server‬‭is‬‭what‬‭makes‬‭the‬‭downloading‬‭criminal‬


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 ‭and‬ ‭therefore‬ ‭must‬ ‭be‬ ‭an‬ ‭element‬ ‭of‬ ‭the‬ ‭offense‬ ‭which‬ ‭the‬ ‭government‬ ‭must‬

 ‭both‬ ‭plead‬ ‭in‬ ‭the‬‭Indictment‬‭and‬‭prove‬‭at‬‭trial.‬ ‭Forcing‬‭the‬‭defendant‬‭to‬‭prove‬

 ‭his innocence violates the most basic principles of the Fifth Amendment.‬

         ‭VII.‬ ‭Conclusion‬

         ‭The‬ ‭government‬ ‭insists‬ ‭that,‬ ‭if‬ ‭the‬ ‭communication‬ ‭contains‬ ‭the‬ ‭human‬

 ‭voice,‬ ‭this‬ ‭legal‬ ‭regime‬ ‭does‬ ‭not‬ ‭apply,‬ ‭and‬ ‭for‬ ‭the‬ ‭purpose‬ ‭of‬ ‭this‬‭motion,‬‭we‬

 ‭assume‬ ‭they‬ ‭are‬ ‭correct.‬ ‭But‬ ‭if‬ ‭they‬ ‭are‬ ‭correct,‬ ‭then‬ ‭the‬ ‭statute‬ ‭-‬ ‭which‬ ‭bars‬

 ‭virtually‬‭all‬‭acquisitions‬‭of‬‭communications‬‭-‬‭even‬‭those‬‭from‬‭public‬‭sources‬‭-‬‭is‬

 ‭unconstitutional.‬ ‭Counts‬‭8,‬‭9,‬‭10,‬‭11,‬‭12,‬‭13,‬‭and‬‭14‬‭of‬‭the‬‭indictment‬‭which‬‭relate‬

 ‭to‬ ‭both‬ ‭the‬ ‭“interception”‬ ‭and‬ ‭“disclosure”‬ ‭of‬ ‭these‬ ‭communications,‬ ‭must‬

 ‭therefore be dismissed.‬




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 ‭Respectfully submitted,‬

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                                   ‭CERTIFICATE OF SERVICE‬

         I‭ ‬ ‭HEREBY‬ ‭CERTIFY‬ ‭that‬ ‭on‬ ‭this‬ ‭19‬‭th‬ ‭day‬ ‭of‬ ‭May,‬ ‭2025‬‭,‬ ‭I‬ ‭electronically‬
 ‭filed the foregoing with the Clerk of Court by using the CM/ECF system.‬

                                          s‭ /Michael P. Maddux‬
                                           ‭Michael P. Maddux, Esquire‬




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